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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     May 6, 2022

BY ECF
Honorable Jesse M. Furman
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Joshua Adam Schulte,
              S3 17 Cr. 548 (JMF)

Dear Judge Furman:

        The Government respectfully submits this letter pursuant to the Court’s Order, dated May
4, 2022 (D.E. 794), directing the Government to state whether it has any objection to providing
Defendant and the Court with the specific language used by Wall Counsel to contact Central
Intelligence Agency (“CIA”) witnesses on the Defendant’s behalf. The Government has no
objection to providing the language, and attached as Exhibit A is a document that the Government
received from Wall Counsel containing the form language used to contact CIA witnesses by email
regarding both defense subpoenas for trial testimony and defense requests for interviews.


                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney


                                        by:           /s/
                                              David W. Denton, Jr./Michael D. Lockard
                                              Assistant United States Attorneys
                                              (212) 637-2744/-2193

cc:    Standby Counsel (by ECF)
       Joshua Adam Schulte (by mail)
